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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 HELENA DIVISION

ROY D. BURNS, ADC #091713                                                          PLAINTIFF


V.                             CASE NO. 2:11CV49 SWW/BD

SARGEANT EDWARD D. EATON, ET AL.                                                DEFENDANTS
 

                     BRIEF IN SUPPORT OF ADC DEFENDANTS
                    MOTION FOR PARTIAL SUMMARY JUDGMENT
 
     Come now Arkansas Department of Correction (ADC) Defendants, Edward Eaton and Retina

White, by and through their attorneys, Attorney General Dustin McDaniel and Assistant

Attorney General Ka Tina R. Hodge, and for their Brief in Support of their Motion for Summary

Judgment state as follows:

                                     I.   INTRODUCTION

        Plaintiff brings this action pursuant to 42 U.S.C. §1983 alleging that Defendants violated

his Eighth Amendment right to be free from cruel and unusual punishment.             Specifically,

Plaintiff contends: (1) That Defendants used excessive force through the application of peppery

spray; and (2) That Defendants displayed a deliberate indifference to his medical needs.

Defendant Retina White is entitled to judgment as a matter of law on Plaintiff’s claims because

Plaintiff failed to exhaust his administrative remedies prior to filing this lawsuit. Defendant

Edward Eaton is entitled to judgment as a matter of law on Plaintiff’s claims because any force

used against Plaintiff was done in good faith effort to maintain order and discipline.

Additionally, Plaintiff has failed to state a claim upon which relief may be granted and he will

not be entitled to any monetary damages because he suffered no physical injury. Therefore,



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Plaintiff’s complaint should be dismissed and summary judgment entered in favor of Defendants

Edward Eaton and Retina White.

                                II.   STANDARD OF REVIEW

       Summary judgment is appropriate when there is no genuine issue as to a material fact,

and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56 (c). The

Court views all evidence in the light most favorable to the nonmoving party. See Harlston v.

McDonnell Douglas Corp., 37 F.3d 379, 382 (8th Cir. 1994). To defeat a motion for summary

judgment, the nonmoving party has the burden “of presenting evidence sufficiently supporting

[any] disputed material facts that a reasonable jury could return a verdict in [his] favor.”

Gregory v. City of Rogers, Arkansas, 974 F.2d 1006, 1010 (8th Cir. 1992)(citing Anderson v.

Liberty Lobby, 477 U.S. 424, 248 (1986)). Plaintiff “may not merely rest upon allegations or

denials in [his] pleadings, but must set forth specific facts . . . showing that there is a genuine

issue for trial.” Ghane v. West, 48 F.3d 979, 981 (8th Cir. 1998) (citing Burst v. Adolph Coors

Co., 650 F.2d 930, 932 (8th Cir. 1981). Plaintiff will not be able to show a deprivation of

constitutional rights by either Defendant, therefore, Plaintiff’s complaint should be dismissed.

                                       III. FACTS
       Defendants incorporate by reference their statement of facts as if set forth word for word.

                                      IV.    ARGUMENTS

    A. Defendants are entitled to Sovereign Immunity in their official capacities.

    The doctrine of sovereign immunity deprives federal courts of jurisdiction over suits against

states, their agencies, boards, commissions, and employees thereof in their official capacities,

unless the state has waived its immunity or Congress has abrogated that immunity pursuant to a

valid exercise of Congressional power. See Seminole Tribe of Fla. v. Fla., 517 U.S. 44, 54

(1996); Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 100 (1984). The State of

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Arkansas and its agencies and officials have not consented to suit in federal court, (see Burk v.

Beene, 948 F.2d 489, 492-93 (8th Cir. 1991)), and Congress did not abrogate the states’

sovereign immunity when it enacted 42 U.S.C. § 1983. Will v. Michigan Dept. of State Police,

491 U.S. 58, 66-67 (1989). Accordingly, Plaintiff’s official capacity claims against the ADC

Defendants for money damages must be dismissed.

    B. Plaintiff failed to exhaust all administrative remedies against Retina White

       The Prison Litigation Reform Act states “No action shall be brought with respect to

prison conditions under section 1983 of this title, or any other Federal law, by a prisoner

confined in any jail, prison, or other correctional facility until such administrative remedies as

are available are exhausted.” 42 U.S.C. § 1997e(a). Part of the reasoning behind the exhaustion

requirement is to give the facility a chance “to address complaints about the program it

administers before being subjected to suit.” Jones v. Bock, 549 U.S. 199, 219 (2007). This

requirement also helps by “reducing litigation to the extent complaints are satisfactorily resolved,

and improving litigation that does occur by leading to the preparation of a useful record.” Id. It is

well settled that an inmate must exhaust all administrative remedies in accordance with the

institution’s procedural requirements. See Jones v. Bock, 549 U.S. 199, 218 (2007) (explaining

that: “it is the prison’s requirements, and not the PLRA, that define the boundaries of proper

exhaustion”)

       The Arkansas Department of Corrections (“ADC”) inmate grievance procedure in effect

at the time of the incident was Administrative Directive 09-01. (Ex. 1). For an ADC inmate to

fully exhaust administrative remedies, the inmate must file: (1) an informal resolution (unit level

grievance) within 15 working days after the occurrence of the incident; (2) a formal grievance

with the Warden within 3 working days of denial of the informal resolution; (3) an appeal to the



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ADC Deputy/Assistant Director within 5 working days of the Warden’s Decision. (Ex. 1, p. 5-

12)   Inmates are also required to specifically name each individual involved for a proper

investigation and response. (Ex. 1, p. 4) The grievance procedure specifically states “Grievances

must specifically name each individual involved for a proper investigation and response to be

completed by ADC. Inmates must fully exhaust the grievance prior to filing a lawsuit. Inmates

who fail to name all parties during the grievance process may have their lawsuit or claim

dismissed by the court or commission for failure to exhaust against all parties.”                Id.

Additionally, the grievance form itself informs inmates that they are to identify all personnel

involved. See for Example Ex. 5, p. 1)

       In this case, Plaintiff was taken to a shower following treatment for scabies. (DE 2, p. 2)

While there, Plaintiff was given several direct orders to submit to restraints, which he refused to

follow and ultimately began throwing objects and propelling bodily fluid at Defendant Eaton.

(Ex. 3, p. 1; DE 2, p. 8-9) Following the incident, Plaintiff filed an informal resolution whereby

he named only Defendant Eaton. (Ex. 5, p. 1) After 14 days had passed, Plaintiff took it upon

himself to file a formal grievance with the Warden. (Ex. 5, p. 1) At this point in time, there was

still no mention of Defendant White. (Ex. 5) Warden Burl responded to Plaintiff’s grievance on

August 6, 2010 and denied it, citing that Plaintiff had been found guilty of five disciplinary

charges arising from the July 2 incident; that Plaintiff admitted that he refused to be cuffed; that

Sergeant Eaton advised that the only reason Plaintiff had been sprayed was because he was

combative toward staff; and that Plaintiff’s grievance had no merit. (Ex. 5, p. 2) On August 10,

2010, Plaintiff appealed Warden Burl’s decision, and the Warden’s decision was affirmed by

Director Larry May on October 13, 2010. (Ex. 5, p. 3)




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              Plaintiff’s entire grievance process lasted a total of 73 days. (Se Ex. 5) At no time during

the entire seventy-three days did Plaintiff name Defendant White as one of the officers involved

in the July 2 incident. (See Ex. 5) As such, Plaintiff failed to name each Defendant he has sued.

This failure is fatal to his claim. The ADC’s Inmate Grievance Procedure requires that Plaintiff

name all individuals involved for proper investigation of his complaint.                  (Ex. 1, p. 4)

Additionally, Plaintiff was allowed fifteen days from the date of the incident to file an informal

resolution against Officer White. (Ex 1) Plaintiff’s complaint alleges the incident occurred on

July 2, 2010. Therefore, Plaintiff’s was required to file an informal grievance against White no

later than July 17, 2010. Plaintiff filed grievance number EAM10-02858 on July 14, 2010. (Ex.

5) In that grievance he describes the events that took place on July 2, 2010 but only named

Defendant Eaton. (Ex. 5, p. 1) The next grievance Plaintiff filed was received on July 12, 2010

and involved a wholly separate incident that neither involved Sergeant Eaton, nor Officer White.

(Ex. 4)1 By failing to file a grievance naming Officer White within the specified time frame,

Plaintiff has failed to properly exhaust his administrative remedies, and Defendant White is

entitled to judgment as a matter of law.

C. Plaintiff’s Eighth Amendment claim for Excessive Force should be dismissed because

       Plaintiff was not subjected to Excessive Force and Defendants are entitled to a

       Judgment as a matter of law.

              Plaintiff’s complaint against Sergeant Eaton should also be dismissed. To sustain an

Eighth Amendment claim against Defendants for use of excessive force, Plaintiff must

demonstrate that force was not used “in a good-faith effort to maintain or restore discipline” but,


                                                            
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  In that grievance, Plaintiff complained that he had been placed next to another inmate for
fifteen seconds while the escorting officer stood twenty-five feet way. (Ex. 4)

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rather, was administered “maliciously and sadistically to cause harm”. Hudson v. McMillian, 503

U.S. 1, 112 S.Ct. 995 (1992). “Because the use of force is sometimes required in prison settings,

guards are liable only if they are completely unjustified in using force.” Irving v. Dormire, 519

F.3d 441, 446 (8th Cir. 2008) (quoting Hudson, 503 U.S. at 9). “Routine discomfort is a part of

the penalty that criminal offenders must pay, so only extreme conditions that deprive inmates of

a ‘civilized measure of life’s necessities’ violate the Eighth Amendment. Id.

       Moreover, “[b]ecause a § 1983 action is a type of tort claim, general principles of tort law

require that a plaintiff suffer some actual injury before he can receive compensation.” Irving,

519 F.3d at 449 (quoting Carey v. Piphus, 435 U.S. 247, 253-255). “Not every push or shove,

even if it may later seem unnecessary in the peace of a judges’ chambers, violates a prisoner’s

constitutional rights.” Johnson v Glick, 481 F.2d 1028, 1033 (2d Cir. 1973).    The Eighth

Amendment prohibits cruel and unusual punishment and necessarily excludes from constitutional

recognition de minimis uses of physical force, provided that the use of force is not a of a sort

repugnant to the conscience of mankind.

       Sergeant Eaton is entitled to a judgment as a matter of law because he was completely

justified in his application of force, his force was tempered, and applied in a good faith manner

to maintain and restore discipline. This court has considered facts of similar nature to those

presented in this case and ultimately concluded that the plaintiff-inmate was not subjected to

excessive force.   In Conway v. Moses Jackson, Case No. 5:10cv225 JLH-BD, this court

considered a claim that Defendant used excessive force against Plaintiff when he was sprayed

with a one-second burst of chemical agent after refusing repeated direct orders to be restrained

and after presenting a dangerous situation by tying a bed sheet around his neck. In the Conway

opinion, this Court found that the plaintiff-inmate was angry and out of control and threatened



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and shouted obscenities at officers. Id. Relying on the ADC’s Administrative Directive 09-17,

the court noted that non-deadly force was acceptable to protect persons from foreseeable injuries.

Id.

       In our case, Plaintiff, much like Conway, refused to be restrained despite repeated direct

orders to do so. In fact, Plaintiff admits repeated instances of misconduct and refusal to follow

Sergeant Eaton’s orders in his complaint. For example, Plaintiff readily admits that Eaton came

to the shower at instructed him to “catch the cuffs,” to which Plaintiff responded, “No!” (DE 2,

p. 8) Eaton told him again to catch the cuffs, Plaintiff responded “No!” (DE 2, p. 8) Plaintiff

then claims that Eaton warned him that if he continued to refuse direct orders, then chemical

agents will be used. (DE 2, p. 8) Instead of complying with Eaton’s orders, Plaintiff asked Eaton

to pass a message to another inmate. Eaton refused. (DE 2, p. 8) At this time, Plaintiff states he

was given a third direct order to submit to restraints. (DE 2, p. 9) He refused, opting instead to

assault Sergeant Eaton with a shampoo bottle, a soap dish, and finally began spitting and

shouting obscenities at Sergeant Eaton. (DE 2, p. 9; Ex. 3, p. 1) Each time Sergeant Eaton

attempted to exit the Isolation area in order to get his supervisor, he was assaulted by the

Plaintiff. (Ex. 3, p. 1) Plaintiff then called Eaton a “Bitch Nigger bitch ass” and threatened to

stab him. (Ex. 3, p. 1) Plaintiff’s failure to submit to restraint poses a security risk because his

outward display of violence showed a clear intent to continue disregarding orders and that he

was willing to do physical harm. Furthermore, he posed an additional security threat when he

began throwing objects, spitting, and yelling threats and obscenities at Sergeant Eaton. Just like

the officers in Conway, supra, Eaton was properly following ADC policy regarding Use of Force

by applying non-deadly force in order to restore order and abate an increasing security concern.

Therefore, Eaton, like the officers in Conway, supra, is entitled to Judgment as a matter of law.



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It was not unreasonable or unconstitutional for Eaton to use chemical agents in response to

Plaintiff’s rising violence and out-of-control behavior or to encourage him to come to the cell

door and be restrained. See Conway, supra.

       Furthermore, the Eighth Circuit’s opinions in Treats v. Morgan, 308 F.3d 868, 875 (8th

Cir. 2002) and Jones v. Shields, 207 F.3d 491, 496 (8th Cir. 2000), also cited in the Conway,

supra, opinion, support a judgment in Defendant Eaton’s favor. In Treats, supra, the Eighth

Circuit held that pepper spray may be used if “the inmate’s noncompliance . . . poses a threat to

other persons or to prison security.”   In Treats v. Morgan, 308 F.3d 868 (8th Cir. 2002), an

inmate brought an excessive force claim against Officers James Morgan and J. Beaty after he

was sprayed in the face with capstun pepper spray at the North Central unit. The inmate testified

as follows at an evidentiary hearing. On October 8, 1998, prison officials removed a radio from

his cell. Id. at 870. Approximately one hour and a half, the inmate was summoned to Lieutenant

Beaty’s office to sign a confiscation form. Id. The inmate signed it but refused to take a copy

with him. Id. Officer Morgan followed the inmate out of the Lieutenant’s office and demanded

that he take the form. Id. He responded that it was not mandatory for him to take the form and

turned to go back to the Lieutenant’s office to ask him about it. Id. Without warning, Officer

Morgan sprayed him in the face with pepper spray. Id. Beaty then came out of his office,

knocked the inmate to the floor, and handcuffed him. Id.

       The ADC’s regulations regarding use of chemical agents were introduced and provide in

pertinent part that an officer warn an inmate prior to using a chemical agent. Id. at 870-71. The

regulations also provide that an officer may use non-deadly force to compel an inmate’s

compliance when other methods of persuasion are not effective and noncompliance jeopardizes

safety and security of the institution. Id. at 871. Chemical agents, such as capstun pepper spray,



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may be used only when an inmate threatens bodily harm to himself, other inmates, or

individuals, will not produce an item or will not relocate. Id. Chemicals may not be used as a

means of punishment. Id.

          In considering Treats’ case, the Eighth Circuit acknowledged: “Officers are permitted to

use force reasonably “in a good-faith effort to maintain or restore discipline . . . .” Id. at 872.

The Eighth Circuit concluded, however, that Defendants were not entitled to qualified immunity

and that the district court had not erred in denying their motion for summary judgment. Id. The

inmate, the court stated, had not jeopardized any person’s safety or threatened prison security at

the time he refused to take the confiscation form. Id. at 872. The court noted that, at the time of

the incident, which included being pepper sprayed and knocked to the ground, Treats had not

used profanity or abusive language or threatened any corrections officer. Id. The Treats court

also noted that the officer might have tempered his force by warning inmate Treats prior to

administering pepper spray. Id. at 874. And, the court found significant that Officer Morgan had

failed to follow the ADC’s policy on use of chemical agents by failing to warn inmate Treats

prior to spaying him. Id. at 875.

          This matter is factually distinguishable from the Treats facts and the Treats decision

demonstrates that Sergeant Eaton is entitled to a judgment as a matter of law. First, unlike the

officers in Treats, supra, Sergeant Eaton did follow ADC’s policies on use of force and chemical

agents. Administrative Regulation 409 is the ADC’s Use of Force policy. (Ex. 7) It provides in

relevant part that force may be used when necessary in order to restrain, maintain or regain

control of an inmate with a minimum of injury to staff, inmates, and others.            (Ex. 7, 1)

Additionally, Administrative Regulation 410 authorized Sergeant Eaton to utilize chemical

agents.     (Ex. 8)   Administrative Regulation 410 provides, “It shall be the policy of the



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Department of Correction to ensure that the use of chemical agents and other non-lethal weapons

against an inmate be undertaken with a minimum amount of force. Only when the inmate

threatens bodily harm to himself/herself, other inmates, or individuals, will not produce an

item(s), or will not relocate, may chemical agents or other non-lethal weapons issued by the

Department be employed.” (Ex. 8, p. 1) Additionally, Administrative Regulation 409 provides

that an officer may respond with force necessary to control the situation. As the inmate’s

resistance or force increases, the amount of force should also increase or decrease to a point

where control is obtained. (Ex. 7)

       There is no material dispute of facts concerning the activities that lead up to plaintiff

being pepper sprayed. Plaintiff concedes that he was asked to come out of the shower and given

multiple orders to submit to restraints. (DE 2, p. 8-9) Sergeant Eaton’s disciplinary report,

incident report, and affidavit also make clear that Plaintiff was given several opportunities to

submit to restraints and exit the shower to be relocated to his cell. Plaintiff simply would not

comply. Pursuant to AR 409, AR 410, and the Treats, supra, decision, Eaton was justified in

employing the minimum amount of force, via chemical agent. AR 410 permits the use of

chemical agent when an inmate refuses to relocate. Here, Burns admits that he refused to exit

the shower and relocate to his cell.

         Next, the undisputed facts show that there was an objective need for the type of force

used against Plaintiff because he presented a threat to persons or security. Unlike Treats, Burns

presented a clear threat to Eaton and also to prison security in general. By throwing objects at

Eaton, Burns was outwardly displaying a violent temper that could easily lead to physical injury

of any person who attempted to remove him from the isolation shower. In fact, Burns admits

that during the incident he was “really mad.” (DE 2, p. 9) Not only that, Burns also hurled



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verbal threats, threatening to stab Sergeant Eaton the first chance he got. The threat to stab

Sergeant Eaton was heard by other officers in the area. (Ex. 9) This threat was real and Burns

had the means to carry out. Later on the same evening, Burns was found in his cell cutting

himself with a sharp object that was found hidden underneath his tongue. (Ex. 6)

       Third, Eaton’s use of force was tempered. The Treats court noted that Treats was not

aggressive, had not been warned, and had been subjected to a “prolonged’ spray of chemical

agent and then knocked to the floor. Here, Eaton administered three very short (seconds) burst

of chemical agent in Plaintiff’s direction, Plaintiff states he was warned about the use of

chemical agents, and Plaintiff was never knocked to the floor.

       Lastly, in a recent case in the Eastern District of Arkansas, which also relies on Treats,

supra, and Jones, supra, the court held that three bursts of chemical agent to regain control of a

recalcitrant inmate did not violate the Eighth Amendment.         In Dorsey v. Page, Case No.

1:10cv00046 (JMM/JTR), the plaintiff-inmate was placed in an isolation shower after he

destroyed a sprinkler head in cell. While in the cell, Dorsey was ordered, three separate times, to

remove his clothing so he could be searched for any potentially hidden pieces of the sprinkler or

other weapons and each time Plaintiff refused. After becoming belligerent, an extraction team

assembled and Dorsey was given a final order to remove his clothing and submit to restraints.

Dorsey made a motion to submit to restraints, but refused to remove his clothing. After Dorsey

refused to remove his clothing, officers sprayed him with two short bursts of chemical agent to

the face. After another order to remove his clothing, Plaintiff again refused and the guards

administered a third burst of pepper spray. Finally, Dorsey complied with orders and his shower

was activated so he could cleanse himself of the pepper spray.




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       In Dorsey, supra, the Plaintiff asserted that officers were not authorized to use chemical

agents because he was locked behind a cell door and could not harm the officers. Id. at 7. The

court disagreed, noting that prison officials do not have to be under any physical attack in order

to utilize pepper spray. Citing Treats, the court stated, if “the noncompliance. . . poses a threat to

other persons or prison security,” pepper spray can be used. Id. at7-8. The court noted that

Plaintiff’s repeated refusal to follow orders, and his being allowed to shower following the use of

pepper spray, made it clear that the use of chemical agents was not unreasonable and was only

used in a good-faith effort to maintain discipline. Id.

       The case at bar is markedly similar to Dorsey in that Burns, at the time of the incident,

was already housed in Isolation. He was placed in an isolation shower, he was given direct

orders to submit to restraints, he refused those orders on several occasions, he was sprayed three

times with pepper spray, and he was allowed to shower after the incident. Slightly different in

our case is the fact that Burns threw objects at, spit on, and spewed verbal threats at Officer

Eaton. Each of the actions taken by Burns posed an immediate threat to Eaton by way of

physical injury, future physical harm or injury, or by communicable disease or illness.

Accordingly, Eaton used minimal force in order to maintain discipline and regain control of

Burns. It is of no consequence that Plaintiff was locked in a shower cell. See Dorsey, supra.

       Furthermore, Plaintiff was allowed to shower within ten minutes of being sprayed. The

Dorsey court noted that the inmate-plaintiff was allowed to shower after the incident. Following

the incident in this case, Sergeant Eaton exited the isolation area to get his supervisor, Lieutenant

Walker. (Ex. 10) It is the practice of the unit to separate staff and inmates following such

incidents. (Ex. 10) Accordingly, Sergeant Eaton did not provide Plaintiff a shower because he

removed himself from the isolation area to locate a supervisor. (Ex. 10) Instead, Lieutenant



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Walker arrived to the isolation shower area within ten minutes and provided Plaintiff a shower.

(DE 2, p. 10) Plaintiff admits that he was allowed to shower within 10 minutes of being sprayed.

(DE 2, p. 10)   Plaintiff also concedes that forty-five minutes later, medical personnel reported to

the isolation area to clean his eyes, but that his eyes were clear by then. (DE 2, p. 10) Thus,

Plaintiff suffered no actual injury.       See Jones v. Shields, 207 F.3d 491, 495 (8th Cir.

2000)(finding de minimis injury where inmate was sprayed with pepper spray and the effects

were only felt for forty-five minutes)).

        In sum, Eaton was well within ADC policy when he administered the pepper spray at

Plaintiff. ADC policy allows for the use of force in situations including, but not limited to: (1)

Protecting individuals from a reasonably foreseeable injury by an inmate; and (2) Compelling

compliance with orders. At the time Eaton had first administered pepper spray, Plaintiff had

been given verbal commands to submit to handcuff restraints which plaintiff refused to do.

Eaton, however, did not use force to persuade Plaintiff to follow commands. It was not until

after Plaintiff had hurled an object that Eaton made the decision to use pepper spray. Plaintiff

later threw another object at Eaton and expelled bodily fluid on Eaton. Each of these instances

constitutes an assault on Eaton. Plaintiff only suffered temporary discomfort from the use of the

spray. Since Eaton only used the amount of force necessary to regain control of Plaintiff, and

since Plaintiff suffered no physical injury but only temporary discomfort, Plaintiff’s complaint of

excessive force should be dismissed as a matter of law.

    D. Eaton is entitled to qualified immunity

    Qualified immunity shields governmental employees acting within the scope of their duties

from suit for money damages so long as their conduct does not “violate clearly established

statutory or constitutional rights of which a reasonable person would know.” Harlow v.



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Fitzgerald, 457 U.S. 800, 818, (1982). To determine the existence of qualified immunity, the

court need address two questions: (1) whether the plaintiff has shown the violation of a

constitutional right, and (2) whether that right was clearly established at the time of the alleged

misconduct. Saucier v. Katz, 533 U.S. 194, 121 S.Ct. 2151 (2001).

    To prove a violation of his Eighth Amendment right, Plaintiff has to meet two requirements

set forth in Farmer v. Brennan, 511 U.S. 825.           “First, the deprivation alleged must be,

objectively, ‘sufficiently serious’. Id. at 834. Furthermore, the act has to, in some way, result in

the denial of “’the minimal civilized measure of life's necessities.’” Id. (quoting Rhodes v.

Chapman, 452 U.S. 337 (1981). If the court decides there was no violation of a constitutional

right, then the Defendants are entitled to qualified immunity.

    In the present case, Plaintiff cannot show a sufficiently serious deprivation of his

constitutional rights. The Hudson court understood that the use of force is sometimes necessary

in the prison setting. As such, guards will only be liable for the use of force if it is completely

unjustified. Eaton’s three brief bursts of pepper spray were justified and done pursuant to ADC’s

Use of Force and Chemical Agents policies and caused no physical injury to Plaintiff. As

established above, the use of force did not violate Burn’s constitutional rights, and therefore,

Sergeant Eaton is entitled to Qualified Immunity.

    E. Plaintiff did not suffer any physical injury.

       The PLRA states, “[n]o Federal Action may be brought by a prisoner confined in a jail,

prison, or other correctional facility, for mental or emotional injury suffered while in custody

with a prior showing of physical injury. 42 U.S. C. § 1997e(e). See also Royal v. Kautzy, 375

F.3d 720 (8th Cir. 2004). This clear restriction on damages applies to all federal claims alleging

constitutional violations. Royal, 375 F.3d at 723. The Eighth Circuit Court of Appeals has



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concluded that Congress did not intend section 1997e(e) to limit recovery for mental and

emotional damages in select cases; rather, Congress fully intended to limited such damages in all

federal actions brought by prisoners. Id. (emphasis added). Plaintiff has not suffered any

physical injury. Accordingly, he is not entitled to damages for emotional distress. 42 U.S.C. §

1997e(e); Royal, supra.


       Section 803(d) of the PLRA, codified as 42 U.S.C. § 1997e(e), entitled “Limitation on

Recovery,” provides:


       No Federal civil action may be brought by a prisoner confined in a jail, prison

       or other correctional facility, for mental or emotional injury suffered while in

       custody without a prior showing of physical injury.

       This clear restriction on damages applies to all federal claims alleging constitutional

violations. Royal v. Kautzky, 375 F.3d 720, 723 (8th Cir. 2004) The Eighth Circuit Court of

Appeals has concluded that Congress did not intend section 1997e(e) to limit recovery for mental

and emotional damages in select cases; rather, Congress fully intended to limit such damages in

all federal actions brought by prisoners. Id. (emphasis added). Plaintiff is simply not entitled to

compensatory damages.

       Although § 1997e(e) bars recovery of compensatory damages for Plaintiff, Defendants

acknowledge that section 1997e permits nominal, punitive and injunctive relief when a prisoner

proves that he is entitled to such damages.    This is not such a case. As demonstrated herein,

Defendants are entitled to judgment as a matter of law on all of Plaintiff’s claims because: (1)

they are entitled to qualified and sovereign immunity; (2) Plaintiff has failed to state an

Excessive Force claim; (3) and Plaintiff has not suffered any constitutional violation. Because

Defendants are entitled to a Judgment as a Matter of Law, on all of Plaintiff’s claims, then there

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can be no award of nominal or punitive damages or injunctive or declaratory relief. In sum,

Plaintiff is not entitled to compensatory, nominal, punitive, or injunctive relief. Because there is

no relief that can be awarded to Plaintiff his complaint should be dismissed with prejudice in its

entirety.

        WHEREFORE, the ADC Defendant prays that their Motion for Summary Judgment be

granted, that the dismissal count as a strike for purposes of the PLRA for failure to state a claim

and/or frivolous/malicious action, and that this court award them any and all relief to which they

may be entitled.




                                              Respectfully submitted,

                                              DUSTIN MCDANIEL,
                                              Attorney General


                                              /s/ Ka Tina R. Hodge
                                              Arkansas Bar #2003100
                                              Attorney for ADC Defendants
                                              Assistant Attorney General
                                              323 Center Street, Suite 200
                                              Little Rock, AR 72201-2610
                                              Telephone: (501) 682-1307
                                              Facsimile: (501) 682-2591
                                              katina.hodge@arkansasag.gov



                                CERTIFICATE OF SERVICE

       I, Ka Tina R. Hodge, Assistant Attorney General, hereby certify that on this October
22, 2012, I electronically filed the foregoing with the Clerk of Court using the CM/ECF
system, which shall send notification of such filing to any CM/ECF participants.




                                              /s/ Ka Tina R. Hodge

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                                Arkansas Bar #2003100
                                Attorney for ADC Defendants
                                Assistant Attorney General
                                323 Center Street, Suite 200
                                Little Rock, AR 72201-2610
                                Telephone: (501) 682-1307
                                Facsimile: (501) 682-2591
                                katina.hodge@arkansasag.gov




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